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    1                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
    2                              EASTERN DIVISION
    3 UNITED STATES OF AMERICA,                  )
                                                 )
    4                         Plaintiff,         )   Case No. 03 CR 90-16
        -vs-                                     )
    5                                            )   Chicago, Illinois
        STEPHEN SUSINKA,                         )   January 20, 2009
    6                                            )   1:13 p.m.
                              Defendant.         )
    7
    8                         TRANSCRIPT OF PROCEEDINGS
                         BEFORE THE HONORABLE RUBEN CASTILLO
    9
        APPEARANCES:
  10
        For the Government:                HON. PATRICK J. FITZGERALD
  11                                       UNITED STATES ATTORNEY
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    1      (Proceedings heard in open court:)
    2               THE CLERK: 03 CR 90, United States versus Stephen
    3   Susinka.
    4               MR. POPE: Good afternoon, your Honor. Patrick Pope,
    5   Chris Hotaling and Meghan Morrissey on behalf of the United
    6   States.
    7               MR. WAGNER: Good afternoon, your Honor. Steven
    8   Wagner and Jack Rimland on behalf of Stephen Susinka who's
    9   present before the Court.
  10                PROBATION OFFICER: Good afternoon, your Honor.
  11    Christina Figueroa on behalf of Probation.
  12                THE COURT: Thanks for being here. And Ms. Figueroa,
  13    you can be seated.
  14                Are both sides ready to proceed to sentencing?
  15                MR. POPE: Yes, your Honor.
  16                MR. WAGNER: Yes, Judge.
  17                THE COURT: And have you had, Mr. Wagner, a full
  18    opportunity to review the Presentence Investigation Report?
  19                MR. WAGNER: I have had an opportunity on my own,
  20    your Honor; and, if the next question is have I had an
  21    opportunity to go over it with Mr. Susinka, I have done that
  22    as well.
  23                THE COURT: Okay. Are there any changes you wish to
  24    make to the report?
  25                MR. WAGNER: With regards to any of the educational
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    1   or background information, no, Judge.
    2               THE COURT: Okay. Any on behalf of the government?
    3               MR. POPE: None, your Honor.
    4               THE COURT: And are there any other factual
    5   objections you have in the report?
    6               MR. WAGNER: Just one second, Judge.
    7               THE COURT: Go ahead.
    8      (Counsel and defendant conferring.)
    9               MR. WAGNER: Your Honor, certainly with the Court's
  10    indulgence and consideration for having allowed Mr. Susinka,
  11    as well as a number of other defendants throughout the course
  12    of this case for the years that we've been before the Court
  13    specifically with regards to my client, Mr. Susinka, to have
  14    allowed him to address the Court both verbally in court and
  15    also with regards to written motions, which he's filed.
  16                As the Court may, in fact, be aware, Mr. Susinka had
  17    filed on his own behalf approximately an 87-page memorandum in
  18    which --
  19                THE COURT: I did receive it.
  20                MR. WAGNER: -- he does take exception with some of
  21    the factual points raised in the PSR. So, again, with the
  22    Court's indulgence and your Honor's permission, Mr. Susinka
  23    had asked me for the opportunity to ask you to allow him to
  24    address those issues.
  25                THE COURT: Okay. Mr. Susinka, you can proceed.
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    1               DEFENDANT SUSINKA: Yes, your Honor. Thank you.
    2               MR. POPE: May I sit so I can take notes?
    3               THE COURT: Yes, you may.
    4               DEFENDANT SUSINKA: Just to be courteous of the
    5   Court's time, I'm going to try to skip over some of the issues
    6   I raised in my memorandum and bring up issues that I didn't
    7   raise in my memorandum --
    8               THE COURT: Okay.
    9               DEFENDANT SUSINKA: -- but I may repeat some of the
  10    issues in my memorandum that I think are the most important.
  11                THE COURT: Okay.
  12                DEFENDANT SUSINKA: But the first of my issues was
  13    the base offense level on the racketeering guideline, and the
  14    PSR calculation of my guideline under 2E1, that's the
  15    underlying racketeering activity, but as an alternative to the
  16    arguments that I raised in my sentencing memorandum, adding an
  17    alternative argument that there is no underlying racketeering
  18    activity because the focus of the racketeering conspiracy is
  19    the agreement itself, not the racketeering activity. So I'm
  20    saying that underlying racketeering activity doesn't apply.
  21                Or else, in the alternative, that if the Court
  22    chooses to apply the relevant conduct instead of the
  23    underlying racketeering activity guidelines, then as raised in
  24    my memorandum the Sixth Amendment applies to -- or
  25    excuse me -- I mean the language of the relevant conduct
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    1   guideline that any -- any crime that is an element of the
    2   offense, that is not an element of the offense cannot be taken
    3   into account in adding up the base offense level.
    4               So what I'm saying is that the murder on Robert Perez
    5   and the narcotics conspiracy -- and the narcotics conspiracy
    6   are issues that effectively raised my statutory maximum,
    7   which, under the case law I've submitted in my memorandum, the
    8   Court is barred from taking into consideration because of that
    9   fact.
  10                THE COURT: So if I accepted your position, the
  11    maximum is what?
  12                DEFENDANT SUSINKA: 20 years.
  13                THE COURT: Uh-huh.
  14                DEFENDANT SUSINKA: But my position is that -- well,
  15    okay.
  16                MR. POPE: Your Honor, there's no dispute regarding
  17    that issue.
  18                THE COURT: Right.
  19                MR. POPE: Based on the jury's finding, the maximum
  20    sentence that he can be subject to is 20 years, putting aside
  21    the concurrent/consecutive issue.
  22                DEFENDANT SUSINKA: But my issue is more with that,
  23    what is and isn't allowed to be considered by the Court as the
  24    Supreme Court has set forth, and I'll repeat the issue as I
  25    raised in my memorandum about the Jones case, how the Jones
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    1   case is similar to my racketeering case and the likely
    2   sentencing statute on the racketeering holds that my maximum
    3   is 20 and can be increased to life, depending on the
    4   racketeering activity.
    5               So that's why the Apprendi issue was raised, and the
    6   jury was sent to a second round of deliberations to deliberate
    7   with those statutory aggravating factors. So I'm raising a
    8   similar argument about that.
    9               About the murder, I got the double jeopardy argument.
  10    That depends on my 6th Amendment if you find that the Robert
  11    Perez and the narcotics conspiracy are in fact elements and
  12    you agree with my 6th Amendment argument, then double jeopardy
  13    applies according to my theories.
  14                Then my third argument regarding the Robert Perez
  15    incident was that I was not part of the conspiracy, at least
  16    on the day that the Robert Perez murder occurred, and that is
  17    based on I cited case laws in my memorandum. I got the
  18    Valencia case from the 5th Circuit. It was ruled on
  19    November 2, 2006.
  20                Then I got the -- and, well, the Valencia case had to
  21    do with being part of a conspiracy subsequent to your 18th
  22    birthday. That case stated that in order -- anything that was
  23    pre your 18th birthday was not to be considered as part of the
  24    conspiracy and you had to reratify your involvement with the
  25    conspiracy subsequent to your 18th birthday.
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    1               And past that, because my assertion is that I wasn't
    2   part of the conspiracy subsequent to my 18th birthday at least
    3   on the date or the time that the Robert Perez murder happened,
    4   and there was no evidence showing any association with anybody
    5   before the Robert Perez murder subsequent to my 18th birthday,
    6   that it cannot be calculated as relevant conduct.
    7               And I believe the relevant conduct guidelines, if you
    8   choose to apply the relevant conduct, it states in a footnote,
    9   I'm not sure because I have no access to legal material
  10    regarding the guidelines, so I'm pretty sure it says that you
  11    cannot be foreseeable to an act that was committed before you
  12    were a member of the conspiracy.
  13                And I cited the Westview case in support of that.
  14    That was an 11th Circuit case decided April 16, 2008 that said
  15    that you cannot be held liable for acts that were committed
  16    before you were part of the conspiracy.
  17                And my last point of that argument is the
  18    government's acquittal against me -- I mean for me on the
  19    Robert Perez incident shows that I was not a part of the
  20    conspiracy after my 18th birthday, at least at the time that
  21    the Perez homicide was committed because that would have been
  22    my first predicate act and the first piece of evidence towards
  23    my agreement after my 18th birthday, and the jury explicitly
  24    rejected that.
  25                So that's my fourth argument, again going toward the
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    1   Robert Perez, is the 3553(a) factors. I got 3553(a)(6) about
    2   the sentencing disparities and the explicit language in
    3   3553(a)(6) states that it's to avoid unwarranted sentencing
    4   disparities between defendants who have been found guilty of
    5   the same conduct with similar backgrounds.
    6               But, I mean, that's not an exact quote, but I know
    7   for sure the "found guilty" language is explicitly reflected
    8   in the 3553(a)(6), and that's what I'm focusing on is what
    9   I've been found guilty. So I'm saying that today in
  10    considering my sentencing that you will consider facts that I
  11    have been found guilty of based on the statute 3553(a).
  12                And going more towards the acquitted column, shifting
  13    from the factual issues to, like, the acquitted conduct issue
  14    about the Watts case. The Watts discusses the acquitted
  15    conduct, but the Watts in my opinion the way I understand the
  16    case, it seems to carve out an exception towards special
  17    findings of the jury because that case they said that unless
  18    there are special findings of a jury, there's no way to
  19    basically to know exactly, like, what a jury rejected and did
  20    not reject. And in this case, there were special findings,
  21    and the jury explicitly rejected that I was responsible for
  22    the homicide of Robert Perez.
  23                Again, it's not a general verdict, that the Watts
  24    case addresses that just because there was a general verdict
  25    of not guilty, that means that -- excuse me -- that means that
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    1   it only shows that the jury failed to find one of the elements
    2   of the crime proven beyond a reasonable doubt, but in this
    3   case, that's not the case because these were special findings
    4   in a general not guilty verdict.
    5               And the third point regarding the Watts case is that
    6   they held that it was appropriate to increase one's sentence
    7   because they say that the crime was committed in a manner that
    8   warrants increased punishment.
    9               Again, that was the whole point of the second round
  10    of deliberations, and the jury found that my racketeering
  11    violation was not committed in a manner that warrants
  12    increased punishment because my increased punishment would
  13    rise to a life sentence instead of 20 years.
  14                Another point going along with the acquitted conduct,
  15    there's a new case that just came out on Christmas Eve in 2008
  16    from the 6th Circuit named White. In that case, they
  17    explicitly state that even though a court is allowed to
  18    consider acquitted conduct, that the 6th Amendment is a
  19    backstop. I think that substantiates my 6th Amendment
  20    argument.
  21                And the case goes on to quote Apprendi for the
  22    proposition that any fact that increases my statutory maximum
  23    must be proved beyond a reasonable doubt.
  24                My other point related to my acquitted conduct is the
  25    Rita case, and in Rita, there was a concurring opinion I
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    1    think -- I'm not sure how to say his name, Scalia. He
    2    concurred and held that there could be a 6th Amendment
    3    violation and a sentence if it could only be upheld as
    4    reasonable based on the judicial fact finding.
    5               So today if you make a judicial fact finding that I'm
    6    legally liable for the Perez incident, then on appeal the only
    7    reason my sentence would be upheld as reasonable would be
    8    because of your judicial fact finding today.
    9               And then my last argument regarded the acquitted
   10    conduct issue is the Hurn case, which notes the standard of
   11    proof regarding acquitted conduct that substantially increases
   12    the guidelines on my case, so as currently standing, I'm at a
   13    level 19 without any relevant conduct findings and underlying
   14    racketeering findings; but if you make the finding that I was
   15    involved with the Perez incident or legally liable for it,
   16    then that would raise my guidelines to a level 43. That's
   17    what I'm saying, that's a lot of time.
   18               So the standard of proof in Hurn was like those type
   19    of increases in the sentence standard of proof, there may be a
   20    due process issue by making that finding by a preponderance of
   21    the evidence and instead it would be more appropriate to be
   22    found by clear and convincing evidence. But that's the
   23    relevant 7th Circuit case law. I'm still asserting that it
   24    needs to be proved beyond a reasonable doubt because it
   25    enhances my statutory maximum.
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    1               I've addressed my factual issues. My next issue is
    2    about the admission of Fernando Delatorre's testimony in
    3    today's proceedings. I'm saying that it should not be
    4    admitted. I'm entitled to rebuttal. He's not here to
    5    testify. I'm saying under Crawford, I'm allowed to
    6    cross-examine him because anything used in his testimony would
    7    be going toward the fact of the issues asserted, which would
    8    be the Perez and the narcotics issues.
    9               Then in my memorandum, I cited McMillan, I mean
   10    McMillan versus Pennsylvania where they recognize a case
   11    called Specht versus Patterson where they said any sentencing
   12    proceedings that are conducted while I'm not allowed to
   13    cross-examine my accusers violates due process.
   14               So according to these Supreme Court cases, Fernando
   15    Delatorre's proffer or his grand jury testimony isn't
   16    admissible in this proceeding because I'm not allowed to
   17    cross-examine him.
   18               Other than that, his testimony is unreliable because
   19    I had no cross. He tried a statement and I have a signed
   20    affidavit. I don't know if that's been submitted to you, but
   21    I have an affidavit from 2006 that he wrote. He signed it.
   22    It's been notarized. He took an oath that basically he lied,
   23    so I'm saying that, because of these facts, that his testimony
   24    is not to be considered today.
   25               I have an issue -- I'm trying to streamline, excuse
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    1    me.
    2               THE COURT: Uh-huh.
    3               DEFENDANT SUSINKA: I got the February 23rd incident.
    4    I didn't address this one in my memorandum because I assumed
    5    counsel was going to address it, but the PSR claims that it's
    6    not relevant conduct, but in case you choose to disregard the
    7    PSR in this instance, I feel like I need to address that.
    8               I got the same 6th Amendment argument. Attempted
    9    murder in Illinois carries a statutory maximum of 30 years, so
   10    I think that raises my statutory maximum. It's a Class X
   11    felony, 30 years, then there are several enhancements that are
   12    applied on the sentencing regarding attempted murder.
   13               They got a what's called a 15/20/25 statute where
   14    it's 15 years if you possessed a gun during the commission of
   15    attempted murder, and it's 20 years added to your sentence if
   16    you personally discharged a firearm during the commission of
   17    the crime.
   18               Even though I didn't personally possess the weapon
   19    and I didn't personally discharge the weapon, I guess I could
   20    still be held legally liable, so that's why I'm raising it.
   21    I'm still saying under the 6th Amendment it raises my statutory
   22    maximum.
   23               I'm not sure if it applies under the racketeering
   24    sentencing statute 1963 because it goes from 20 years to life,
   25    so I'm not sure if any increase in my maximum is applicable.
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    1    So if this is found, would it raise my maximum to 30 years,
    2    can they do that under racketeering statute? I'm not sure.
    3    But my second issue regarding the 2-23 incident would be
    4    Delatorre's testimony. As I said before, it's not admissible.
    5               Third, my third point regarding it is more factual.
    6    I'm saying that it's not proven by a preponderance of the
    7    evidence because I'm assuming that's going to be the standard
    8    here. Lorenzo Becerra, when he first made his initial
    9    statement the night he was arrested, he didn't mention me, and
   10    he never picked me out of a lineup. He picked everybody else
   11    out, talked about everybody else, wrote about everybody else.
   12    He admitted that he lied. He claimed that somebody else did
   13    the shooting, then turned around and changed his story and
   14    claimed that he was the one that did the shooting. So his
   15    stories are pretty much all over the place.
   16               Then in terms that it doesn't fit into attempted
   17    murder because there was no intent, instead he pled guilty to
   18    aggravated discharge. And I know from my own experience in
   19    the state when you allocute you say that you're guilty of the
   20    crime, are you pleading guilty because you're actually guilty
   21    of the crime? He pled guilty to aggravated discharge, that's
   22    shooting the weapon without any intent, so I'm saying there's
   23    no intent to be found.
   24               His own trial testimony claims that he was coerced,
   25    so I understand that that's a mitigating circumstance. So say
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    1    if he would have, in fact, committed a murder that day, it
    2    wouldn't have been first-degree murder. He would have had a
    3    chance to catch a second-degree murder because the aggravating
    4    circumstance that he felt like he was in danger because he was
    5    supposedly threatened with violations or whatever, so there
    6    was no intent. Claiming that he was coerced, that's a
    7    mitigating circumstance dropping it down not from a -- from an
    8    attempted murder to I guess it would be attempted
    9    manslaughter.
   10               Then also according to his testimony, I took him
   11    home, like, between he said they were planning it. Then he
   12    claims I showed up. My side is different, but he claims I
   13    showed up in the middle of it, and that I drove him to his
   14    house and he got out of the truck at his house and, according
   15    to him, he went in the house and ate.
   16               So at that point in time, there was no -- no
   17    liability for me, no liability could have attached to me
   18    because I didn't take him to do anything. It wasn't my job to
   19    take him to do anything. Nobody told me to do anything, and
   20    he claimed during the planning of the incident I wasn't
   21    present. There was no proof that I knew what was going on.
   22    He said that I was outside of the house. He claimed the
   23    planning was going on inside the house.
   24               He claimed that he was supposed to call Delatorre,
   25    not me, for a ride, so there's -- if he's supposed to call
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    1    Delatorre but I'm supposed to be driving, why would he be
    2    calling Delatorre when he's supposed to be calling me because
    3    I be the one to come pick him up according to him.
    4               Now, related to this, I got my own testimony. My
    5    testimony was that I was not around during the time this
    6    incident was being planned. I pretty much ran across these
    7    guys by happenstance and I got myself caught up in the mix.
    8               I'm claiming that it doesn't amount to an attempted
    9    murder because of that because he claims he was coerced and
   10    that even if you do find that it does amount to attempted
   11    murder, the evidence doesn't show at least by a preponderance
   12    of the evidence.
   13               My fourth issue related to the attempted murder is
   14    concerning the guidelines. The attempted murder, as the
   15    government characterizes it, was committed on February 23rd,
   16    2002. Now, according to my research in 2004, the attempted
   17    murder guideline 2A1.2, I believe, was amended by amendment
   18    663 and was raised from a level 28 to a level 33. So even if
   19    you make a finding by a preponderance of the evidence that the
   20    attempted murder is applicable to me, that my offense level
   21    should be a 28 under that finding because it would violate ex
   22    post facto principles because at the time of the commission of
   23    the crime, the offense level was 28.
   24               Second, regarding the ex post facto would have been
   25    my withdrawal from the conspiracy upon my incarceration. In
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    1    2005 the 7th Circuit ruled on the United States versus
    2    Paladino, it focused more on the Booker ruling and the limited
    3    remand for sentencing, but they also raised some of the
    4    factual issues raised by the defendants in that case. And in
    5    Paladino, they recognized a 2nd Circuit case, United States
    6    versus Borelli, from back in 1962, which I used in my
    7    objection to the Santiago proffer and in our motion for
    8    severance that claims that once a conspirator is incarcerated
    9    for a crime that could be considered relevant conduct, that
   10    that counts as a withdrawal from the conspiracy.
   11               So the 7th Circuit recognized that case in 2005, and
   12    so I'm saying that that case could apply and applies to my
   13    withdrawal from the conspiracy before the guideline was
   14    changed.
   15               And then my last issue concerning the 2-23 incident
   16    would be even if there is a finding that there was an
   17    attempted murder at that day, that I qualify for a six-point
   18    reduction for only being an accessory after the fact. So that
   19    would drive my offense level from level 28 to a level 22
   20    because there was no proof. I didn't take him to the
   21    shooting. I didn't help him get away from the shooting. I
   22    didn't point anybody out. I didn't provide him with the
   23    weapon. I had no direct involvement with the shooting
   24    whatsoever. He got away on his own, got there on his own. He
   25    bumped into me, so I picked him up; but I believe that if
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    1    there is a finding that I was involved, that I only qualify as
    2    being involved as an accessory after the fact.
    3               I'll move on to my reductions in my offense level.
    4    Counsel raises the issue that my sentence should be ran
    5    concurrent all the way from 2002 under United States guideline
    6    5G1.3(b).
    7               THE COURT: When does your state sentence end,
    8    Mr. Susinka?
    9               DEFENDANT SUSINKA: I'm not sure. My state sentence
   10    was up in April 5th, 2006. That was my MSR date or my
   11    Mandatory Supervised Release date, but now they're still
   12    holding me in custody, so I'm not sure exactly when, if
   13    they're going to max me out on my whole nine years or make me
   14    serve the rest of my parole time, which will be up in two
   15    months. I'm not sure.
   16               But they argue under 5G1.3(b), so I'm saying in the
   17    alternative, if you reject the 5G1.3(b) argument, I'm saying
   18    that under 5G1.3(c), which holds that I'm liable to -- or it
   19    says that you can run my sentence concurrent from the date
   20    that you choose and if you don't choose to run my sentence
   21    concurrent at least from the beginning, then in the
   22    alternative at least run it concurrent from the day I was
   23    brought into federal custody, which is October 14, 2005.
   24               And I mean the footnote states, it's note 3(b), I got
   25    it quoted right here. It says, "The court may provide a
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    1    judgment in the criminal case order that the sentence for the
    2    instant offense shall commence on a specified date." So you
    3    could choose whatever date to start running my sentence if you
    4    choose to run it concurrent either from the beginning of April
    5    or from October 14th, 2005, when I was brought into federal
    6    custody through a writ.
    7               My second part to my reductions is another 5G1.3(c)
    8    argument, and then footnote (e) -- I mean footnote 3(e) is
    9    downward departure provision. Even though my understanding of
   10    the law is not saying that downward departures would be
   11    considered obsolete, but that's just the language of the
   12    guidelines. They call it a departure, so that's what I'm
   13    going to use here.
   14               I was thinking that if 5G1.3(c) doesn't apply, I mean
   15    5G1.3(b) doesn't apply, I think 5G1.3(c) should be applied in
   16    a 5G1.3(b) manner because the drug conspiracy could be
   17    considered relevant conduct, but it doesn't enhance my offense
   18    level. But even though -- but because it doesn't enhance my
   19    offense level, 5G1.3(b) may not be applicable. So if
   20    5G1.3(b), if you choose not to apply it, in the alternative,
   21    I'm requesting a departure under 5G1.3(c) note 3(e), the
   22    departure provision for the 81 months I spent in state
   23    custody.
   24               So it would be because under 5G1.3(b) it says that
   25    you should adjust the sentence to account for the time, but
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    1    since I don't know if I directly fall under 5G1.3(b), the
    2    departure under 5G1.3(c), I'm requesting --
    3               THE COURT: You were taken into custody on April 14,
    4    '05, that's for sure.
    5               DEFENDANT SUSINKA: No, October. October 14th, 2005.
    6               THE COURT: October 14th.
    7               DEFENDANT SUSINKA: Yes.
    8               THE COURT: Okay.
    9               DEFENDANT SUSINKA: Just it should be --
   10               THE COURT: Let me just ask you a couple of things.
   11               DEFENDANT SUSINKA: Yes.
   12               THE COURT: First of all, there's no acquitted
   13    conduct in your case, right? You were not found not guilty of
   14    anything.
   15               DEFENDANT SUSINKA: Correct, but I believe that the
   16    special findings of the jury that I was not involved with the
   17    Robert Perez incident may qualify as acquitted conduct. I'm
   18    not sure. I'm making the argument.
   19               THE COURT: That's just your reading of that finding.
   20               DEFENDANT SUSINKA: Right. That's my understanding
   21    just in case.
   22               THE COURT: You understand that once you were
   23    convicted beyond a reasonable doubt of RICO, that alone drove
   24    your guidelines into the range of 40 -- what is it, 45. You
   25    understand that in terms of your sentencing guidelines which
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    1    are advisory in nature?
    2               DEFENDANT SUSINKA: I understand that they are
    3    advisory, but my understanding of it was that it did not, only
    4    upon a judicial fact finding that it drove my offense level up
    5    to a level 43. That's my understanding.
    6               THE COURT: Okay. Well, I would just tell you in
    7    response to what you've outlined, given your conviction of
    8    RICO, which I know was a hard-fought conviction but
    9    nevertheless is a conviction that the jury made beyond a
   10    reasonable doubt, I will use the guideline calculations made
   11    in the presentence report which indicate that the greater
   12    offense level for RICO is 45.
   13               Without even getting into the whole situation with
   14    regard to Robert Perez, your adjusted offense level is still
   15    at a 45, which puts you in the life range, but the government
   16    admits and the Court concludes that your statutory maximum,
   17    given the jury's determination, is 20 years.
   18               Given that the sentencing guidelines are advisory,
   19    the question, Mr. Susinka, is what your sentence would be with
   20    a 20-year maximum. Do you understand that?
   21               DEFENDANT SUSINKA: Yes.
   22               THE COURT: And your criminal history is what it is,
   23    which is a Criminal History Category IV.
   24               DEFENDANT SUSINKA: I have some objections to that
   25    calculation.
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    1               THE COURT: To the criminal history?
    2               DEFENDANT SUSINKA: Yes. I made them in my PSR -- I
    3    mean my memorandum.
    4               THE COURT: In your written submission.
    5               DEFENDANT SUSINKA: Right.
    6               THE COURT: Okay. And I'm overruling those.
    7               So I'm using the calculations made in the PSR.
    8               DEFENDANT SUSINKA: Okay. So should I move on? Or
    9    you want me to stick with --
   10               THE COURT: No, let's just stop right there.
   11               Mr. Wagner, do you have any other legal objections?
   12    Because I think -- my problem with Mr. Susinka's presentation
   13    is he's getting into sentencing allocution also.
   14               Do you want to say anything more about that before we
   15    turn it over to Mr. Susinka?
   16               MR. WAGNER: I know Mr. Rimland wanted to address the
   17    issue with regard to the consecutive versus concurrent, but
   18    not with regards to the Court's position about the 20-year
   19    statutory maximum.
   20               THE COURT: Okay. Well, I'm concluding the 20-year
   21    statutory maximum does apply. I'm going to sit Mr. Susinka
   22    down, and we're going to start with the government arguing
   23    what it thinks is an appropriate sentence. Then I'll hear
   24    from either of Mr. Susinka's attorneys, and then finally I'll
   25    hear from Mr. Susinka again.
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    1               MR. WAGNER: All right, sir. Thank you.
    2               MR. POPE: Thank you, your Honor.
    3               THE COURT: Go ahead.
    4               MR. POPE: Your Honor, if I may --
    5               THE COURT: Yeah.
    6               MR. POPE: -- just one point of clarification. I
    7    understand your rulings regarding adopting the PSR guideline
    8    calculations there.
    9               THE COURT: Okay.
   10               MR. POPE: I don't know if I heard this wrong. I
   11    believe you said "without getting into the Robert Perez
   12    issues."
   13               The issue that I have with that is the guideline
   14    begins at 43 because the Probation Office concluded based on
   15    evidence that the government submitted that he was involved as
   16    a driver in the Robert Perez murder irrespective of the
   17    not-proven finding in Phase 2 of the trial.
   18               THE COURT: Right.
   19               MR. POPE: So it is relevant, and I believe you need
   20    to make that finding.
   21               THE COURT: To that extent, I did misspeak.
   22               Without getting into the RICO Act 3, murder of Robert
   23    Perez, technically, but I understand that relevant conduct is
   24    what's getting Mr. Susinka into the 45 offense level as a
   25    driver. I understand that.
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    1               And my conclusion with regard to that, which you can
    2    go ahead and argue. Your argument is that preponderance of
    3    the evidence shows that he was the driver, right?
    4               MR. POPE: Certainly preponderance of the evidence
    5    and even under clear and convincing if that were ever held to
    6    be the standard, under either one of those standards.
    7               THE COURT: Okay. And I conclude that that is, in
    8    fact, the case, based on the evidence at trial.
    9               So you can proceed.
   10               MR. POPE: Thank you, Judge.
   11               With respect to the 3553(a) factors, I would
   12    incorporate my -- the government's sentencing memorandum that
   13    was previously filed and submitted to the Court in this case.
   14    The -- if I can have one moment, your Honor.
   15               THE COURT: Sure.
   16               MR. POPE: Too many pieces of paper.
   17               As we set forth in that, the facts of this case, the
   18    nature and circumstances of the case are horrific. Your Honor
   19    sat through the trial, sat through one sentencing already,
   20    that I don't think that's in dispute, the history and
   21    characteristics of this defendant.
   22               As we set forth in our sentencing memorandum, that
   23    demands a 20-year sentence in this case consecutive to, which
   24    I'll come to in a bit, the time that he's already doing in the
   25    state court.
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    1               This is a defendant who as evidence proved at trial
    2    between October 2001 and April 16th, 2002, when he was taken
    3    into state custody, he was in Aurora for a little over
    4    four-and-a-half months, and in that time period, he was
    5    involved in the first incident that he has with the police,
    6    he's hooding up. He's doing what Shorties do. He's out in
    7    the 'hood, hanging out with other Insane Deuce gang members.
    8               Second, in November 2002, he's arrested running from
    9    Brian Hernandez's house, Brian Hernandez, who was the overseer
   10    of the Shorties in 2002 and then also Rafael Vasquez, who was
   11    overseeing the Shorties at that time. He runs with a gun.
   12               He then moves -- his mother essentially cuts a deal
   13    with the state. He's going to leave the state. He leaves, he
   14    comes back, we heard the testimony at trial as to why, the
   15    circumstances why he came back. Came back by his own
   16    admission on February 1st, 2002.
   17               Eleven days later, he is the driver on a murder, the
   18    murder of Robert Perez, and it wasn't just I'm in a car. Some
   19    guy hopped out. I didn't know what was going to happen, you
   20    know, and killed somebody.
   21               This is the defendant who's with his other gang
   22    members driving around in his mother's van, driving around
   23    people, hunting for people. You heard the testimony. They
   24    were hunting, trying to find someone to kill, and they're
   25    there multiple -- it takes hours, hours to find somebody.
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    1               They finally do it. Harold Crowder gets out of the
    2    car, runs to that trailer, murders Robert Perez, runs back to
    3    the car, and the defendant drives him away, drives him away.
    4    And being Insane Deuces, and they're good at this
    5    unfortunately, they call so that they can separate the driver,
    6    and Fernando Delatorre is also in the car, from Harold
    7    Crowder, the shooter, and the gun. So they call Orlando
    8    Rivera. They separated and they go their ways, different
    9    ways.
   10               The next day, the very next day, he's out again doing
   11    what Shorties do. They put out. They hold down guns. They
   12    commit murders, drive on murders. They spray paint, too.
   13    They're marking their territory. They not only mark their
   14    territory with guns and murder, but they spray paint so that
   15    no one, even when you're walking down the street in Aurora
   16    when you're not being shot at, you still see the graffiti, the
   17    constant fear that they're imposing. This is our town. We
   18    can take this town.
   19               No, they can't.
   20               Less than a month -- or eleven days -- ten days
   21    later, he's a driver on an attempted murder. That's
   22    February 23rd. February -- March 13th, he's caught with a gun
   23    that's used in a double attempted murder after he comes out of
   24    of Brian Hernandez's house.
   25               The next day, he and Fernando Delatorre are shot at,
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    1    rival gang members trying to kill them. Does he say, well,
    2    you know, this is who did it? No, because that's not his way
    3    or the Insane Deuce way.
    4               What they do is they shot up, and they handle it
    5    themselves. They take care of business themselves. And what
    6    does that mean? It means we go out and we kill.
    7               April 10th, Shorty meeting. April 11th, April 15th,
    8    he's there, selling drugs, doing the other things that Insane
    9    Deuce Shorties do, selling drugs.
   10               April 16th, the day he's arrested and he's finally
   11    taken off the street, he's wrestling a police officer with a
   12    gun. He was very, very good at his job, and he became a
   13    trusted confidante and lieutenant of Fernando Delatorre, who,
   14    by anyone's measure, is -- I mean it's staggering the crime
   15    wave that he was responsible for as an Insane Deuce gang
   16    member.
   17               But that's who Fernando Delatorre hung out with,
   18    Stephen Susinka. He was fantastic at his job. They
   19    recognized it, and what's sad about this case, and as I sat
   20    here throughout pretrial hearings in this case and today, your
   21    Honor, is what's sad about this case is he's a smart kid or a
   22    smart man. He sits there, he's smart. He's intelligent. You
   23    can tell that from the arguments he made pretrial, the
   24    arguments he made today. He gets it.
   25               It's both sad, but at the same time, it's scary
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    1    because your Honor also knows how this gang works, and this
    2    gang works by the smartest, the most organized, the best
    3    leaders rising up through the ranks, becoming leaders in this
    4    gang. And prison doesn't stop it. When he gets out and he
    5    gets that perverse respect that prison and doing time on
    6    behalf of this organization is going to get him, it wouldn't
    7    surprise me in the least if he's a leader, given his
    8    intelligence and how good he is at his job, just like Bolivar
    9    Benabe when he got out in 1997.
   10               His actions, that crime spree that he was on in those
   11    four-and-a-half months by any measure is -- shows that he
   12    repeatedly demonstrates that he has no respect for human life
   13    or the laws that govern normal society.
   14               To this day, even standing here today, and this is
   15    what surprised me the most about today, standing here today,
   16    he still denies everything. He took that stand during trial,
   17    committed perjury, lied through his teeth repeatedly: No; no;
   18    no; I don't recall; I don't know about anything. He doesn't
   19    even -- won't even admit that Fernando Delatorre, the man who
   20    wore Insane Deuce on his chest, could not have been prouder of
   21    anything else in the world than the fact that he was the
   22    leader of the Shorties and an Insane Deuce gang member was an
   23    Insane Deuce gang member.
   24               He won't admit that his sister was an Insane Deuce
   25    gang member. Brian Hernandez, his mentor within the gang, his
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    1    sister's boyfriend, wouldn't even admit that, and he's
    2    standing here lying about it again today. It's offensive. It
    3    was offensive when he took the stand at trial, and it's
    4    offensive today.
    5               The only -- his response repeatedly throughout the
    6    trial, and I think I heard some of it today, is the police.
    7    Other people are responsible for what I did. When he was
    8    confronted on cross-examination with that October 2001 arrest
    9    for hooding up, well, the police actually dragged me down the
   10    street and put me with these two other Insane Deuce Shorties.
   11               Everything is someone else's fault, mostly
   12    overarching police officers. It's not. It's the actions,
   13    it's the decisions that he made throughout his life, and the
   14    decisions he made throughout his life were murder, mayhem,
   15    attempted murder and drug trafficking. That's -- and gun
   16    trafficking. That's what he did. That's who he is, and it's
   17    all his choices.
   18               The -- if you strip it down, even if you take,
   19    putting aside those ten acts in those four-and-a-half months
   20    that he was arrested for, arrested for, not even other things
   21    that he did during that time period, one murder, one attempted
   22    murder, the only appropriate sentence is 20 years maximum
   23    sentence. The deterrence factors, the messages it sends, all
   24    of that is appropriate, and we argue that that should be
   25    sentenced -- that should be consecutive to the time he's
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    1    already done, he's serving right now on his state sentence.
    2               THE COURT: When does the state sentence end?
    3               MR. POPE: I don't -- he is -- he would have been
    4    paroled prior to today, no question about that, given the
    5    normal rules. He's remained in custody, but his state
    6    sentence was nine years from April 16th of 2002, putting aside
    7    any credit that he would have received. He received a
    8    nine-year state sentence on April 16, 2002.
    9               THE COURT: So the consecutive versus concurrent, it
   10    sounds to me that we're talking basically a one-year
   11    difference?
   12               MR. POPE: No, we are not. We are talking about if
   13    it's concurrent and it goes back to April 16th of 2002 --
   14               THE COURT: Okay.
   15               MR. POPE: -- with the state sentence, then we're
   16    talking about a six-and-a-half year -- is that -- roughly
   17    six-and-a-half years, six-and-three-quarters years.
   18               And the sentence if it's imposed today, the federal
   19    sentence can start today; but given his involvement 26-,
   20    27-year sentence is functionally what it would be, given his
   21    guideline range and given what he did in this case, that's a
   22    small price to pay for what he did in this case: The murder
   23    of Robert Perez, the attempted murder on February 23rd at the
   24    Porta-Potty, the guns, the drugs, everything that he did and
   25    who he was. It's a small price to pay.
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    1               There is no question and there is no dispute, your
    2    Honor, it is within your discretion. I went through in our
    3    sentencing memorandum and I went through the guidelines
    4    analysis. I believe that it is -- under the guidelines, it
    5    falls in the category where it says it shall be consecutive.
    6    I believe that's an act based on the analysis and the drug
    7    conviction for which he's doing time and the gun conviction
    8    for which he's doing time are under 2E1.1, the RICO guideline,
    9    and the application notes to that are not considered relevant
   10    conduct. They are not considered -- they're considered
   11    criminal history points instead. It falls in that.
   12               But regardless, the guidelines, as we all know, are
   13    advisory. It's fully within your discretion; but, again, it
   14    is a small, small price to pay for what he did for all the
   15    reasons that we submitted in the post-trial -- at trial, in
   16    the post-trial briefing, and in our government's version.
   17               He needs to be taken off the street so that the
   18    people of Aurora can be safer for as long as possible, and
   19    make no mistake about it. Every day that Stephen Susinka
   20    spends in jail the people of Aurora, the children of Aurora,
   21    are safer.
   22               THE COURT: Mr. Rimland or Mr. Wagner.
   23               MR. RIMLAND: Your Honor, if I can just quickly
   24    address the issue of --
   25               THE COURT: Sure.
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    1               MR. RIMLAND: -- concurrent versus consecutive.
    2               THE COURT: Okay.
    3               MR. RIMLAND: Thank you.
    4               I disagree with Mr. Pope with respect to the
    5    mandatory nature under the guidelines with regard to 5G1.3(a)
    6    if the Court were to find it acceptable under (a) or
    7    applicable under (a).
    8               First we cited the case to the Court, which is U.S.
    9    versus Schaefer, I believe, a 7th Circuit case, indicating very
   10    clearly -- U.S. versus Schaefer, indicating very clearly that
   11    it's not mandatory, but it's discretionary.
   12               Then looking at the question of whether or not the
   13    offenses for which he was sentenced in the state court, it is
   14    my humble opinion that those matters were relevant conduct in
   15    this case and is provided for in 5G1.3(b), that those two
   16    offenses would be considered relevant conduct and that by
   17    virtue of 5G1.3(b), that it would be required under that
   18    guideline, the same as Mr. Pope has indicated under (a), that
   19    it would be required that he be sentenced to a concurrent
   20    sentence.
   21               Most respectfully, what I'm suggesting to the Court
   22    is absolutely discretionary based upon the case law, based
   23    upon the circumstances of the events that led to the state
   24    court convictions, I believe are part and parcel of what the
   25    government had to prove in this case in order for purposes of
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    1    establishing their proof beyond a reasonable doubt that
    2    Susinka was guilty of the RICO conspiracy.
    3               And I most respectfully also suggest, your Honor,
    4    that he was in prison at the time, and I'm just responding to
    5    the written argument of the government, that he was in prison
    6    at the time of the balance of the conspiracy. Therefore, he
    7    should not be held responsible for it because of the
    8    withdrawal from the conspiracy. That's what I wish to add to
    9    this Court.
   10               THE COURT: Thank you, Mr. Rimland.
   11               Should we go back to then Mr. Susinka, or do you want
   12    to add anything, Mr. Wagner?
   13               MR. WAGNER: Only if the Court would allow me. Today
   14    when we arrived, Stephen's parents are both here, Judge.
   15    Mrs. Susinka actually had handed me a letter by way of
   16    mitigation from a parent to the Court --
   17               THE COURT: Okay.
   18               MR. WAGNER: -- and had asked me, with the Court's
   19    permission, if I were allowed to read it into the record.
   20               THE COURT: Sure, you can read it into the record.
   21               MR. WAGNER: Thank you, Judge.
   22               THE COURT: And I have read your previous written
   23    submission --
   24               MR. WAGNER: Thank you, your Honor.
   25               THE COURT: -- along with the exhibits, but go ahead.
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    1               MR. RIMLAND: Excuse me. I'm sorry, your Honor, may
    2    I quickly interrupt something that popped into my head that I
    3    forgot.
    4               I wish also to state that if this Court were to
    5    consider not imposing a sentence, a concurrent sentence with
    6    the state court sentences that Mr. Susinka is presently
    7    serving, that at least the Court consider giving him credit
    8    for the time he's been in federal custody. I think that that
    9    would be an appropriate matter for this Court.
   10               Thank you.
   11               THE COURT: Okay.
   12               MR. WAGNER: It's dated January 19, 2009, and it
   13    states:
   14               Your Honor: My name is Theresa Susinka, and on
   15    Tuesday, January 20, 2009, you'll be sentencing my son,
   16    Stephen Susinka. As a parent, I appeal to you for your
   17    leniency with respect to Stevie's sentence. You see, your
   18    Honor, Stephen will always be Stevie to his family. Since the
   19    age of 18 years old and for the last seven years, Stephen has
   20    been paying the price for the mistakes of his youth.
   21               As a parent, one takes pride in their child's
   22    achievements and accomplishments and anguish over their
   23    mistakes; but no matter what the child has done, they are
   24    still your child, and you love them -- and your love for them
   25    never diminishes. Stevie has made mistakes, and he has taken
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    1    responsibility for them and has deep regret for each action
    2    that brought him to the place he is today.
    3               Over the last seven years, he has made the best out
    4    of a bad situation. Instead of feeling sorry for himself and
    5    becoming a problem inmate, he has worked toward and achieved
    6    his G.E.D. At his previous facility, he took college courses,
    7    which are unfortunately not available at the facility he's
    8    currently at. He has been active in his own defense, writing
    9    many motions and appeals and helped other inmates writing
   10    theirs as well. He's taught himself these skills by learning
   11    and studying the law as it applies to each individual
   12    situation.
   13               People who do not know Steve have been amazed at the
   14    level of professionalism with which he conducts himself.
   15    During the past seven years, he's also learned to cut hair,
   16    and works in that capacity.
   17               Above all, and through all of the ups and downs of
   18    the past seven years, his biggest concern has always been his
   19    family. No matter what he has endured personally over time,
   20    he has always told us, especially me, that he's okay, that I
   21    should not worry; but as a parent, how can I not?
   22               I've seen my son be moved from facility to facility
   23    over the years, have had long periods of time where I could
   24    not see him, yet he never failed to make weekly calls and sent
   25    letters to us that we knew he was okay.
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    1               Has my son made mistakes? Yes, he has, and not only
    2    has he taken responsibility, but he's also shown remorse for
    3    them. When he was initially arrested he was a young kid who
    4    got himself involved with the wrong people.
    5               I only ask you to give due consideration to his time
    6    served, and as a parent, I ask for leniency when you pass
    7    sentence on him. My wish for my son is to be paroled for time
    8    served so that he can take the skills that he's learned and go
    9    on to be a productive member of society.
   10               As you can surely understand if you are a parent, all
   11    I want for my son is happiness in his life and a safe and
   12    productive future for him and hopefully for him to some day be
   13    able to start a family of his own.
   14               So, your Honor, I thank you for your time that you
   15    have given to read this letter, and I appreciate all due
   16    consideration that you may give to my son. As a parent, it
   17    would give me no greater joy than to have my son come home
   18    after all these years and start his life fresh. With your
   19    help, he may be able to do just that.
   20               With deepest sincerity, and it's signed Theresa
   21    Susinka.
   22               Thank you, Judge. If I can just add a couple of
   23    personal comments.
   24               THE COURT: Sure.
   25               MR. WAGNER: Your Honor, I've been a lawyer, in April
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    1    it will be 30 years, and from time to time both in state and
    2    federal court, I've had the opportunity to represent numerous
    3    people who have endeavored to take on their own cause by
    4    writing motions, representing themselves and doing whatever.
    5    And I find, as the government has indicated and I know your
    6    Honor has taken note of, that Steve has some exceptional
    7    talent. I was first taken by it when he considered actually
    8    representing himself and there was a give-and-take between you
    9    and Stephen with regards to his ability to actually conduct
   10    himself in court, and I was most impressed.
   11               And at that point, I was convinced that your Honor
   12    was actually leaning towards allowing him to represent
   13    himself.
   14               But I'm glad that he chose then to withdraw his
   15    request and allow Mr. Rimland and I to continue to represent
   16    him during the course of the trial; but I was impressed by his
   17    ability not only to get up and speak but in the written
   18    motions that he's presented, but most importantly by his
   19    ability to conduct himself with grace under pressure, and
   20    certainly giving all the due respect that he could both to the
   21    Court and to the government.
   22               His rehabilitative potential to me is enormous. So I
   23    say that just as a personal reflection as being his lawyer for
   24    the last few years, and, again, can only add my sentiments to
   25    his mom that the Court give all that due consideration.
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    1               Thank you, Judge.
    2               THE COURT: You're welcome.
    3               Mr. Susinka, is there anything else you want to add
    4    before I sentence you?
    5               DEFENDANT SUSINKA: Yes. Can I blow my nose first?
    6               THE COURT: You can stand up.
    7               DEFENDANT SUSINKA: Can I grab some Kleenex and blow
    8    my nose?
    9               THE COURT: Sure.
   10               THE CLERK: I've got some right here.
   11       (Pause.)
   12               DEFENDANT SUSINKA: I don't know, I still got some
   13    legal arguments I guess I need to add. I mean if you want to
   14    make this part of my allocution.
   15               THE COURT: If they relate to sentencing, you're free
   16    to make them.
   17               DEFENDANT SUSINKA: Okay. Just I'm not even going to
   18    go over the argument, I'm just going to let you know that I
   19    feel like I -- I mean I qualify for mitigating role reduction
   20    and a reduction, I guess, in the guideline 5K2.0. I think
   21    it's under the Rita case that says that the guidelines, if the
   22    guidelines fall off of the heartland of the usual case that
   23    the guidelines apply to, I'm saying that the heartland of
   24    cases that the guidelines are meant to apply to are cases that
   25    people were actually found guilty of.
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    1               I object to the obstruction-of-justice enhancement,
    2    the two points.
    3               THE COURT: You realize it hasn't even been used.
    4               DEFENDANT SUSINKA: You calculated my offense level
    5    to 45 based on the PSR.
    6               THE COURT: Right.
    7               DEFENDANT SUSINKA: That's with the two points.
    8               MR. POPE: Which applied the obstruction of justice.
    9               THE COURT: Which applied, okay. So you're objecting
   10    to that. Your version is that you did not obstruct justice in
   11    your testimony at trial.
   12               DEFENDANT SUSINKA: Yes. I got a case. For the
   13    record, United States versus Thundershield from the 8th Circuit
   14    decided January 28, 2007. They tried to enhance the sentence
   15    for testifying at trial. They said that it's not perjury, and
   16    I quote, "simply because a defendant testifies on his own
   17    behalf and the jury disbelieves him." That's directly from
   18    the case.
   19               Then, I guess --
   20               THE COURT: So your position at trial and here and
   21    now, just so I understand this, is that you at that point were
   22    charged offenses and at trial and here and now are not an
   23    Insane Deuce.
   24               DEFENDANT SUSINKA: I wish not to respond to that.
   25               THE COURT: That's probably smart, but I will tell
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    1    you it's my conclusion, so that the record is complete, that
    2    you lied numerous times during the trial. So I have no
    3    hesitation using the obstruction-of-justice enhancement.
    4               So if I were you, I'd move on it to some other
    5    argument.
    6               DEFENDANT SUSINKA: Okay. I just wanted to make my
    7    record.
    8               I guess I got the what's called the parsimony
    9    provision of the guidelines. There's a case from the 4th
   10    Circuit, United States versus Ibanga, I-B-A-N-G-A. It was a
   11    sentencing memorandum written by the judge that claimed that
   12    under 3553(a)(2)(a) that sentencing a defendant for acquitted
   13    conduct -- I guess I'm stuck on the acquitted-conduct issue --
   14    but it wouldn't promote respect for the law because I guess
   15    being born and bred in the United States, you're raised with
   16    the belief that you have a right to trial and that you'll only
   17    be sentenced for issues that were -- basically you were found
   18    guilty for at trial. And I was only found guilty of
   19    conspiracy, which the focus of the conspiracy is the
   20    agreement.
   21               The seriousness of the offense, I say the jury's
   22    verdict speaks for itself. They let me off for the Perez
   23    incident. They didn't make a ruling for the drug conspiracy.
   24    I wasn't part of any drug conspiracy with any Insane Deuces.
   25    So the offense, my offense involves only carrying a gun,
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    1    according to my version, carrying one gun. I sold some drugs
    2    on my own. I didn't pay any dues, and I was, according to my
    3    version, an accessory after the fact on attempted murder.
    4               So the seriousness, it can be held as serious, but at
    5    the same time, you know what I'm saying. I don't know. I
    6    been shot before. I been shot at numerous times. Supposedly,
    7    you know what I'm saying, whatever was going on out there,
    8    whatever I been through it, so maybe I might be desensitized
    9    to what it is, as to the seriousness of shootings and all that
   10    type of deal, whatever, guns and drugs.
   11               They talk about just punishment. I feel like I've
   12    already been jailed for a long time. It's been seven years.
   13    Almost seven years, six years and nine months. I was young.
   14    I mean the Supreme Court says that age is a considerable
   15    factor. So, I mean, my age comes into play. I might get to
   16    that in a second.
   17               Another part of 3553 is the deterrent effect. I mean
   18    I don't know how -- the government is pushing for a 20-year
   19    sentence, claiming that it's going to send a message to the
   20    street. I mean the only message I see it sending is that you
   21    go to trial for nothing. I mean you go to trial to get
   22    certain factual issues determined and once they get
   23    determined, they get ignored. So there's no deterrent effect
   24    to that in my eyes. But, whatever, you know what I'm saying?
   25    Whatever is going to happen is going to happen today.
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    1               Incapacitation, I mean I've already been
    2    incapacitated for seven years. I committed my crime, I
    3    accepted my responsibility back then. I mean there's nothing
    4    to worry about coming from me. I wasn't a full-fledged,
    5    hard-core gangbanger. I mean you believe what you believe.
    6    You believe I'm an Insane Deuce.
    7               MR. RIMLAND: Excuse me one second, your Honor.
    8               THE COURT: That's okay.
    9       (Counsel and defendant confer.)
   10               DEFENDANT SUSINKA: I mean, I just feel like I'm --
   11               MR. RIMLAND: Thank you, your Honor.
   12               DEFENDANT SUSINKA: But, I mean, I just -- I been
   13    incapacitated for seven years already. And I feel like if I
   14    were to go home any time before 20 years, I think it makes no
   15    difference because my mind is already made up about what I'm
   16    going to do when I get out, so --
   17               THE COURT: What are you going to do?
   18               DEFENDANT SUSINKA: I feel like I'm going to go home
   19    and conduct myself like I'm supposed to, like an adult, like a
   20    man. Find a better way to make a living for myself and avoid
   21    all the B.S. So I don't know. I been through enough already.
   22    So I mean that's just how I feel, but I feel like I've been
   23    incapacitated long enough.
   24               I'd even say that incapacitation doesn't even come
   25    into play anymore because me being in jail isn't what would be
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    1    keeping me from committing further crimes, so whether I was in
    2    jail or out on the street, I wouldn't be committing any
    3    crimes.
    4               Rehabilitation, the parsimony provision, I mean I
    5    guess I've been rehabilitated. I mean I still have the same
    6    mentality. It's just I made some bad choice, I made the wrong
    7    choices. I got -- I guess now I go into, like, my allocution,
    8    I guess.
    9               As I wrote in my memorandum, I wasn't a bred
   10    criminal. I feel like I pretty much had a normal upbringing.
   11    I wasn't raised in a household full of guns and drugs and
   12    gangbangers and stuff like that. So that's not what my
   13    parents raised me to be; but, you know, I was raised in a bad
   14    neighborhood, so I was exposed to a lot more negative than
   15    positive, you know, when I grew up.
   16               And watching my mother and my father, they worked day
   17    to day, you know, like struggling, living paycheck to
   18    paycheck. I guess, to me, that wasn't an appealing lifestyle;
   19    and when I was young, I wanted money at a young age, so I
   20    started doing what I did to make money.
   21               But I still feel like I wasn't a bred criminal. It's
   22    just a choice because I see some people, I hear their stories
   23    about how they ended up in jail and how they were brought up
   24    in Chicago and this and that, and my story doesn't even amount
   25    to a quarter of, half of the drama they've been through to
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    1    make them do what they did and become incarcerated.
    2               But because, like, I'm not one of those bred
    3    criminals and it's not like my only way of life and because
    4    the way I was raised, I feel like that would be like a proper
    5    mitigating factor.
    6               Another one is that because I was shot, you know, I
    7    was like -- I just turned 17 when I was shot. I didn't know
    8    how to react to that. You know, I'm young. There's a lot of
    9    things going on.
   10               You know, people shoot at me, they shoot me. I don't
   11    know how to react to that, so, I mean, I feel like I had to
   12    pick up a gun to protect myself. Even though I might not have
   13    been out there running around, like, gangbanging, shooting
   14    people, but I was ready if they came to me to defend myself.
   15               Then there was rumors, takeover of my neighborhood
   16    where I live right there, back then. Prior to my 18th
   17    birthday, they thought I was a Deuce, all right, 'cause I hung
   18    around. So they're shooting at me. They're coming at me
   19    everywhere I'm going.
   20               So, whatever, because they want to take over my
   21    neighborhood. They either want me dead or gone, and I can't
   22    move anywhere. I don't have any money, and that was around
   23    the same time I ended up leaving for California.
   24               My mom came to me. She was, like, basically begging
   25    me to leave because she was worried about what was going on,
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    1    and I could have stayed. It doesn't matter. He claims it was
    2    part of negotiations. Oh, my mom did this and that to
    3    negotiate a deal.
    4               I know what I testified to, but I guess now that I
    5    recollect, I don't think it was part of a negotiation. I
    6    think she maybe went and asked for permission, but it wasn't a
    7    negotiation that, oh, we'll drop this if you leave because
    8    this was all my mother's idea, not the prosecution's idea,
    9    because she wanted me to leave.
   10               So I could have stayed because like I wrote in my
   11    memorandum, why worry about being locked up for a petty
   12    probation violation. What are they going to lock me up for,
   13    30 days when I'm out there carrying a gun and selling drugs?
   14    That obviously got me nine years in prison, or, well, a
   15    nine-year sentence, and it's still been lasting on going now
   16    for almost seven years.
   17               So upon my own initiative but my mother's
   18    encouragement, I left voluntarily to California. I left -- I
   19    just turned 18, so I was, like, all right, leave it all
   20    behind. That's not doing me any good anyway. So on my own, I
   21    turned and I left.
   22               But when I got there, things weren't going as
   23    planned, and I seen something. I made an accusation that my
   24    grandfather was raping my cousin, okay? So I make the
   25    accusation because even though I didn't know them that well, I
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    1    wasn't raised with them as family, they were blood. So I felt
    2    like since I was -- since they were blood, that I would bring
    3    it to somebody's attention.
    4               So once I make the accusation, there's a big
    5    argument, a fight breaks out, and they kick me out. So I
    6    leave, and I come back.
    7               I mean up until that point, yeah, it's my fault
    8    because I made the accusation; but I believed I was doing what
    9    I thought was right. I mean stuff like that going on, I mean
   10    I don't believe in that type of thing, and I don't like that.
   11               So I just brought it to everybody's attention. They
   12    chose to side with my grandfather by marriage. And so they
   13    booted me out, and I had to come back.
   14               I thought about staying. I was going to stay because
   15    I still had some money in my pocket, but at the time there was
   16    so much going on in my mind, I was just -- I wanted to get
   17    back to what I knew, what I knew was familiar. So I went
   18    home.
   19               Then like I wrote in my memorandum, I stopped in Las
   20    Vegas. I thought about staying there, but then -- 'cause I
   21    was so focused on just getting out of there and going home, I
   22    just ended up going all the way home.
   23               Then once I get home, after everything is all said
   24    and done, I end up in jail. I end up finding out that the
   25    same accusation that I made to my grandfather was made towards
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    1    him at least on two other occasions, my grandfather by
    2    marriage.
    3               So, I mean, I was right in doing what I did, in
    4    trying to stop what was going on. So supposedly after I made
    5    that accusation, my cousin, they ended up moving away from my
    6    grandfather. I don't know. All I'm saying is the point of
    7    that is that I left, and that shows that that wasn't my intent
    8    to be out there leading a life of crime. I voluntarily left,
    9    and I stopped doing everything. I left everything. I left my
   10    cell phone. I didn't take anything. I just took some money
   11    and my clothes. I went out there and bought everything brand
   12    new.
   13               I was looking for a job, and I signed up for school
   14    because I was trying to finish my high school education and
   15    get my diploma and then make up my mind what I want to do next
   16    once I reached that level and get my diploma. But everything
   17    got blown out of the water. I had no control over it, I
   18    guess, because the way everybody reacted to it -- the way I
   19    imagined everybody reacting to it wasn't the way everything
   20    that unfolded.
   21               Then when I came back from California, my mentality,
   22    like, I was so messed up, like, I was still young, I think,
   23    you know, I had just turned 18, and I was mad because I left
   24    on my own and I tried to do something better with myself, and
   25    it just didn't work out.
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    1               So I felt like -- like it was failed. When I tried
    2    to do something right, it failed; but when I'm doing things
    3    that are wrong, it seemed to be working out. I'm selling
    4    drugs, I'm making money. So it's like, phew, so in my eyes,
    5    like, that's going favorable to me. But when I try to go to
    6    school and get a job, I can't find a job. And I finally sign
    7    up for school and I end up getting kicked out, you know, from
    8    my grandmother's house, so I got nowhere to stay, so I gotta
    9    come back home. So my mentality was, like, I pretty much gave
   10    up, I gave up on myself, and I shouldn't have done that, but I
   11    did, you know.
   12               I mean that's just pretty much what happened, you
   13    know what I mean? I didn't come back, I didn't mean to start
   14    hanging around and doing this and whatever you feel I'm
   15    responsible for; but that was just my mentality, man. I was
   16    lost. I was young, and I was lost. I feel like I was trying
   17    to be something I'm not. I lost myself, forgot who I was, and
   18    turned to the -- turned to the wrong direction.
   19               But past that, I got my own self-rehabilitation
   20    efforts. Before the indictment in this case, I got my G.E.D.
   21    on my own. Nobody pushed me. I see people cooperating with
   22    the government. They're pushing them, putting them in school,
   23    and they're still not even achieving, getting their G.E.D. or
   24    no high school diploma. They're still sitting up there
   25    smoking weed, living at their mom's house. But that's how I
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    1    done. And that's with people pushing them to do that, and
    2    they're still not even doing it. But on my own, I took it
    3    upon myself because that's my mentality was to try to better
    4    myself. Because it's a dead-end. I see where it's going.
    5    There's no getting away with this.
    6               So I took it upon myself. I seen the education.
    7    That was my goal from the beginning, but it failed in
    8    California. So I got another chance to get my education, so I
    9    go and I get my G.E.D. right away. That's the first thing I
   10    did when I got to IDOC. I signed up for school. They put me
   11    in G.E.D. class. I pass it, get my G.E.D.
   12               Soon as I get done with my G.E.D., I want to advance
   13    my education. They're offering college courses, so I take
   14    college courses. I purposely stopped taking the college
   15    courses because I was getting ready to go home, and I wanted
   16    to leave that unfinished, so once I get home, I finish that up
   17    on the street in a real either university or like a local
   18    college or something like that, just to finish getting my
   19    associate's.
   20               At least I would get some type of education that
   21    would help me with better finding a job. But these are my own
   22    self-rehabilitation efforts before this indictment. It's not
   23    an attempt to build a mitigation case. It's not like I caught
   24    this indictment, then I started taking all these classes and
   25    going to church and turn religious just because I caught this
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    1    case, now I'm trying to earn a lower sentence. This was
    2    before this case happened, before the government became
    3    involved, and it was just me on my own doing my time, focusing
    4    on going home, but trying to prepare myself to get to the
    5    street and be prepared to face the world as a man.
    6               I picked up a couple skills while in jail. I became
    7    a barber, just picked up the clippers, started cutting hair.
    8    So that could help me if or whenever I get released. You
    9    know, I can go home. I can cut hair, try to open a barber
   10    shop or something. I don't know. Maybe improve the economy,
   11    since if I own a barber shop, I'll be offering jobs so there
   12    will be open jobs, I guess.
   13               I kind of became like somewhat of a jailhouse lawyer
   14    or paralegal, whatever. I gave that consideration, like
   15    whenever I were to go home, I could go finish, get a paralegal
   16    degree because I think I'm pretty good at that, the way I
   17    write at least. I don't know about my oral presentation, but
   18    the way I write I think is good enough to qualify as a
   19    paralegal. All I got to do is get the education.
   20               Then I guess my last one was the age, or one of my
   21    last ones was the age, past and present. My age back then.
   22    Like the Gall case, they cite Roper versus Simmons, but the
   23    Gall case quotes saying "that a lack of maturity and an
   24    undeveloped sense of responsibility are qualities that often
   25    result in impetuous and ill considered actions."
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    1               So even though my age might not, like, be a total
    2    excuse for my immaturity, it comes into play, you know what I
    3    mean? I mean add on to, like, the situation with California,
    4    people shooting at me, there's just so much going on, like, I
    5    don't know how to react. I only seen one way to react, and
    6    that was to try to protect myself.
    7               But I think my age should be taken into
    8    consideration, my past age, because all this case is built on
    9    I was 18 years old. I had just turned 18, and I was only out
   10    there for two months in Aurora at the age of 18. The
   11    government cites four months.
   12               When I was 18 years old, I was out there for two
   13    months, two-and-a-half months. I came back February 1st to
   14    April 16th, 2002. I was 18, a fresh 18.
   15               My last one is I think I have a strong potential for
   16    rehabilitation. I made up my mind, you know, a long time ago
   17    before any of this even happened, and that's why it kind of
   18    blindsided me. I haven't been around anybody, like, from my
   19    neighborhood the whole time I was locked up. I rotated -- I
   20    mean, I got around on my own. I didn't mess with anybody, any
   21    of the gangbangers, no nothing like that. I distanced myself
   22    from that. People I knew from the streets, I distanced myself
   23    from them, like -- but the gangbangers, anybody I knew from
   24    the streets, that's who I wasn't around, but there were other
   25    people I bumped into that I knew, like, from the area, but
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    1    they weren't Deuces, now, but I still pushed myself away. I
    2    didn't want anything to do with Aurora.
    3               You have your own opinion regarding my intelligence
    4    and my ability to rehabilitate myself or what you think I'm
    5    going to go home and do. The government thinks I'm going to
    6    go home and try to gangbang. Why would I do something as
    7    stupid as that when, from what I see, just apparently being in
    8    a gang is what's going to end me back right here where I'm
    9    sitting right now in the same type of situation that I don't
   10    want to be in. I'd rather be on the streets fulfilling my
   11    life.
   12               Like today, I was talking to a 58-year-old man, and
   13    he was telling me that there's still a lot of things in life
   14    that he wants to experience, and he's 58 years old. I'm 25.
   15    So I'm sitting there thinking, like, man, how much could you
   16    have done so far in your life to where you've reached 58 years
   17    old and you still want to do more.
   18               So I'm thinking all the things I sit here and I think
   19    about I want to do. By the time I reach 58, I'm not going to
   20    experience a lot of the things that I think I'm going to be
   21    able to experience between now and then, so -- so by me being
   22    in jail, you know what I'm saying, it's cutting me off, you
   23    know what I'm saying. It's just helping me, like -- like, I
   24    don't know, like, I just don't want to be sitting in jail,
   25    know what I'm saying, like, wishing this and wishing that,
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    1    should've, would've, could've, but maybe it's too late for
    2    that.
    3               But I don't know. I think that's pretty much it. I
    4    mean I don't see myself, like, on a life sentence installment
    5    plan. I've seen the guys in the joint. It's like their
    6    fourth time in the joint. They're, like, 45 years old, been
    7    in and out, in and out, in and out. That's not me. I'm not
    8    the type of person to keep banging my head against the wall.
    9               You've got your own opinion, like I said, of my
   10    intelligence. You think I'm the type of person to do that or
   11    not, it's your ruling, your opinion.
   12               So then I guess I'll finish off from the White case,
   13    it's the most recent case. It just talks about, it's like one
   14    of the essential points -- this is a quote from the case:
   15    "One of the essential points of Booker, which was highlighted
   16    by Kimbrough versus United States, is that a district court
   17    judge may disagree with the application of the guidelines to a
   18    particular defendant because the guidelines range is too high
   19    or too low to accomplish the purposes set forth in 3553(a).
   20    If the district court concludes that the sentence produced in
   21    part by these relevant conduct enhancements fails to properly
   22    reflect 3553(a) considerations," they cite Rita, "the judge
   23    may impose a lower sentence, including, if reasonable, a lower
   24    sentence that effectively negates the acquitted conduct
   25    enhancement."
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    1               It says, "A district court that enhances a sentence
    2    based on acquitted conduct in fulfilling his duty to
    3    adequately explain the chosen sentence to promote the
    4    perception of fair sentencing should articulate how and why in
    5    his judgment such conduct appropriately influenced his 3553(a)
    6    analysis with respect to the specific defendant and the
    7    specific crime at issue."
    8               I'm leaning towards the Perez incident, so even
    9    though you calculated my guidelines at a level 43, case law
   10    claims that you can disregard the guidelines and still give me
   11    whatever sentence you think is sufficient but not greater than
   12    necessary under 3553(a).
   13               And considering that I've been gone a long time,
   14    considering that I have no plans on even going back to Aurora.
   15    As a matter of fact, I had a lot of hope, you know, like when
   16    I came in here about, like, certain findings you would make.
   17    I'm always confident in the things I do, so I looked up on the
   18    bright side, you know, hoping everything will go my way. But
   19    'cause, you know, in my memorandum, I asked for time served
   20    because -- but that was pretty much based on my calculation of
   21    the guidelines, and the time I have in is like 81 months, so
   22    it fulfills, like, assuming I would catch my good time, like a
   23    95-month sentence.
   24               So, like I say, if you were to give me ten years, it
   25    would be, like, to account for my time in the state, it would
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    1    be like a 25-month sentence, 26-month sentence, and I'd be out
    2    like in, I don't know, like two years, two-and-a-half years,
    3    before I'm 30.
    4               THE COURT: I think you need to stop, Mr. Susinka.
    5               DEFENDANT SUSINKA: Think so? All right. Well, I
    6    was just going to say one more thing, please.
    7               If -- I doubt it, but I'm going to say it anyways --
    8    if you choose to release me, say you give me time considered
    9    today, right, as a sufficient -- if you look at me right now
   10    and you seriously think that I'm going to go home and try to
   11    gangbang, right, so that would be your basic reason because
   12    you would think that I'm not rehabilitated or you think I'm
   13    some career criminal or whatever you might think, I don't
   14    know.
   15               But, say, if you do think that I was rehabilitated
   16    and that I have a strong potential to go home and make a man
   17    of myself in a legitimate way, that if you were going to
   18    release me, like, not to release me to the street but
   19    discharge me to a halfway house or that once I get discharged
   20    from my state, discharge me to a halfway house so that at
   21    least I can be in a halfway house. I'll get on my feet from
   22    the halfway house. Then I can take the money, I mean I'll
   23    probably still be in this district, but I won't be in Aurora.
   24    So I could find me somewhere to live, organize my life and
   25    everything while sitting at the halfway house.
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    1               But that was if you choose to discharge me. But
    2    that's it. But I think that 20 years is way more than
    3    sufficient to serve the purposes of sentencing on 3553(a),
    4    which is more relevant than the guidelines.
    5               I guess that's it. That concludes my allocution.
    6    Thank you.
    7               THE COURT: You're welcome.
    8               DEFENDANT SUSINKA: Oh, excuse me, excuse me, excuse
    9    me. I forgot.
   10               I want to apologize to my family. I forgot. I know,
   11    like, they see me like they raised me, so they probably had,
   12    like, high hopes about what I could become, and I failed. So
   13    I apologize.
   14               I apologize to my mother for stressing her out,
   15    apologize to my father for stressing, for making -- for making
   16    them stressed, and then I apologize to myself because I failed
   17    myself. I lost myself and my sense of self, but -- and then
   18    thank you, I mean, for letting me speak. I appreciate it now
   19    and in the past. That's it.
   20               Thank you.
   21               THE COURT: Well, Mr. Susinka, it pains me to
   22    sentence you, but I need to do what I need to do. And it
   23    pains me because you are bright. You have a lot of potential,
   24    and I just wonder about you. Ultimately, I wonder what it is
   25    that you learned during this trial.
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    1               I mean I hope that you learned a great deal by
    2    sitting through the trial. I hope somewhere in there that you
    3    learned that you were used in this case, and you were used by
    4    being asked to be a member of a gang, by agreeing to be a
    5    member of a gang, by going on missions as you did in this
    6    case.
    7               There's no doubt in my mind that you drove your
    8    mother's van and that you drove Mr. Crowder to a site and that
    9    you knew he was likely to shoot somebody, and you knew what
   10    that was all about because on the one hand, you can't be as
   11    bright as you are here and make the arguments you are and yet
   12    somehow claim that out on the streets, you were just this dumb
   13    guy who managed to get different cars and managed to be in the
   14    wrong places at the wrong time too often with loaded weapons
   15    on you, way too often.
   16               I think you need to, in the first instance, look in
   17    the mirror, accept responsibility for all that you've done,
   18    which I'm not sure that you have. You're so clever that I
   19    think you fool yourself sometimes into blaming your
   20    environment.
   21               There's a lot of people that have grown up poor.
   22    There's a lot of people that don't like the whole thing of
   23    working and getting a paycheck every week, as you admitted
   24    even here today you looked down your nose at.
   25               Those are good people, hard working people, people
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    1    like your parents who you've clearly frustrated. Stressed out
    2    is a light word. They tried to do their best for you.                      You
    3    definitely let them down, let yourself down.
    4               But what is troublesome to me is that I conclude that
    5    while there's no evidence that you pulled the trigger, you
    6    certainly put other people in a position to kill other
    7    individuals. So what do we say to somebody like Steven Perez
    8    who is shot and dead? What do we say to David Morales? What
    9    do we say to Mr. Lazcano, who was the wrong person killed?
   10    What do we say to Mr. Urbell Valdez?
   11               Or do you not care about that? Because if you don't
   12    care about that, then you're going to learn nothing. And that
   13    would worry me if you've learned nothing after all of this.
   14               As a result of an election, our country's made a
   15    choice today. A new president has been sworn in. I bring
   16    this up because today you have to make a choice. Are you
   17    going to accept the sentence that I'm going to impose and then
   18    go back as a man of your word and go back, rehabilitate
   19    yourself through the federal prison system.
   20               I think the idea that you could sit through the same
   21    trial that I did and somehow think that you're either going to
   22    get time served or be out before your 30th birthday is an idea
   23    that is fanciful and wishful thinking. There's no way that
   24    you could be part of the Insane Deuces, as I conclude that you
   25    were, and not get a 20-year sentence because the sentencing
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    1    guideline range is life. The statutory max is 20 years.
    2               I will sentence you to 20 years in the custody of the
    3    Attorney General, which I think is the only fair sentence that
    4    will not deprecate the fact that certain individuals are in
    5    wheelchairs, shot up or dead as a result of your gang
    6    activity.
    7               Where I will use my discretion to your benefit is I
    8    will make this sentence concurrent with the state sentence,
    9    which is to your great benefit, which is something the
   10    government doesn't want me to do.
   11               I do that because I do think your rehabilitation
   12    potential, if I take you at your word, is great. I do think
   13    that you made some efforts prior to this federal indictment to
   14    change your life around, but you need to desperately make this
   15    your last conviction.
   16               If you don't, it is my prediction, Mr. Susinka, that
   17    the next sentence that you receive either in the state system
   18    or in the federal system will be the last sentence that you
   19    receive because it will be like the sentence that I just
   20    imposed on Mr. Benabe, which will be a life sentence. Or, to
   21    the contrary, the next time that you are shot, Mr. Susinka, it
   22    will be the end of your life.
   23               So you need to make that decision over the next few
   24    years; but for today, I will sentence you to 20 years in the
   25    custody of the Bureau of Prisons, put you on five years of my
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    1    supervised release, use my discretion to make your sentence to
    2    be served concurrent with your current state sentence.
    3               I'm going to impose a fine of $2,500 which will be
    4    paid from funds that you will generate by working in prison,
    5    and assess you $100.
    6               You have a right to appeal both the sentence and
    7    conviction by filing a notice of appeal within ten days. If
    8    you need court-appointed counsel, you can request one from the
    9    Court of Appeals.
   10               Mr. Rimland or Mr. Wagner, do you want me to
   11    recommend any particular facility?
   12               MR. RIMLAND: In terms of a particular institution,
   13    your Honor, no; but in terms of someplace that would be
   14    conveniently located so that his family can visit with him
   15    would be great.
   16               THE COURT: Okay. I will recommend the most
   17    appropriate facility be designated closest to the Chicago
   18    metropolitan area.
   19               Is there anything else we need to cover on behalf of
   20    the government?
   21               MR. POPE: Yes, your Honor.
   22               At this point we'd move to dismiss Count 9 of the
   23    indictment as to this defendant.
   24               THE COURT: Count 9 will be dismissed with prejudice.
   25               Anything else on behalf of the defense?
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    1               MR. RIMLAND: Not at this time.
    2               MR. WAGNER: No, sir.
    3               THE COURT: Good luck to you, Mr. Susinka.
    4               MR. WAGNER: Thank you.
    5               THE COURT: We'll stand in recess.
    6       (Which were all the proceedings heard.)
    7                                    CERTIFICATE
    8       I certify that the foregoing is a correct transcript from
    9    the record of proceedings in the above-entitled matter.
   10    /s/Kathleen M. Fennell                  March 2, 2009
   11
         Kathleen M. Fennell                            Date
   12    Official Court Reporter
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